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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

 TASHA COOLEY, individually           )
 and on behalf of all others          )
 similarly situated,                  )
                                      )
      Plaintiff,                      )
                                      )      Case No.: 2:21-cv-802-AMM
 v.                                   )
                                      )
 KDVH ENTERPRISES, LLC                )
 D/B/A BENTON NISSAN OF               )
 HOOVER,                              )
                                      )
      Defendant.                      )

           ORDER ON DEFENDANT’S MOTION TO DISMISS
                AND TO COMPEL ARBITRATION

      This case is before the court on Defendant KDVH Enterprises, LLC d/b/a

Benton Nissan’s (“Benton”) Motion to Dismiss and to Compel Arbitration. Doc. 9.

For the reasons explained in the Memorandum Opinion entered contemporaneously

herewith, the motion is GRANTED. This case is DISMISSED WITHOUT

PREJUDICE. Costs are taxed as paid.

      DONE and ORDERED this 30th day of March, 2022.



                                 _________________________________
                                 ANNA M. MANASCO
                                 UNITED STATES DISTRICT JUDGE
